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                    EXHIBIT 18
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     1          IN THE UNITED STATES DISTRICT COURT
     2           FOR THE NORTHERN DISTRICT OF OHIO
     3                   EASTERN DIVISION
     4                        - - -
     5
            IN RE: NATIONAL                         :    HON. DAN A.
     6      PRESCRIPTION OPIATE                     :    POLSTER
            LITIGATION                              :
     7                                              :
            APPLIES TO ALL CASES                    :    NO.
     8                                              :    1:17-MD-2804
                                                    :
     9
                         - HIGHLY CONFIDENTIAL -
    10
           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11
                                          -    -    -
    12
                               January 16, 2019
    13
                                          -    -    -
    14
    15                  Videotaped deposition of
           KEVIN MITCHELL, taken pursuant to notice,
    16     was held at the Doubletree Resort by
           Hilton, 2400 Willow Street Pike,
    17     Lancaster, Pennsylvania, beginning at
           9:34 a.m., on the above date, before
    18     Michelle L. Gray, a Registered
           Professional Reporter, Certified
    19     Shorthand Reporter, Certified Realtime
           Reporter, and Notary Public.
    20
                                        -     -    -
    21
    22                GOLKOW LITIGATION SERVICES
                     877.370.3377 ph| 917.591.5672
    23                      deps@golkow.com
    24

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     1     employment at Frito Lay was what?
     2                 A.        I think it was June of
     3     2000 -- 2000.
     4                 Q.        And why did you leave that
     5     position?
     6                 A.        I was terminated.
     7                 Q.        For what reason?
     8                 A.        I was moving into a role
     9     other than the one that I was in, and
    10     word got out that I was moving before
    11     that actually happened.                    And so they
    12     terminated me because word got out,
    13     although it didn't get out by me.
    14                 Q.        I'm not sure I entirely
    15     follow.        Word got out that you were
    16     moving from one position to another, and
    17     they fired you for that?
    18                 A.        Correct.         I was told not to
    19     say anything.             I did not say anything.
    20     Someone else -- it got out, and I got
    21     accused of saying it, so they let me go.
    22                 Q.        And what was your next
    23     position after leaving Frito Lay?
    24                 A.        I went to work at Rite Aid
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     1     in September of 2000 as pharmacy support
     2     manager.
     3                 Q.        Was there a period of time
     4     where you were out of work between the
     5     Frito Lay job and Rite Aid?
     6                 A.        Yes, sir.
     7                 Q.        How many months?
     8                 A.        From June to September.                    So
     9     three months.
    10                 Q.        And what were your
    11     responsibilities as pharmacy support
    12     manager?
    13                 A.        To provide liaison between
    14     the pharmacy distribution centers and
    15     regulatory agencies, such as DEA, FDA,
    16     cigarette, tobacco, auditors from
    17     different states, and process
    18     improvement.
    19                 Q.        Did you actually manage some
    20     employees in that position?
    21                 A.        I did not.
    22                 Q.        How did you receive training
    23     to -- for your new job?
    24                           MS. McENROE:            Objection to
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     1                 form.
     2                           MR. SIMMER:            Strike that.
     3     BY MR. SIMMER:
     4                 Q.        Did you receive any training
     5     for your new job?
     6                 A.        Yes, I did.
     7                 Q.        What kind of training did
     8     you receive?
     9                 A.        The former deputy director
    10     of DEA, Ron Buzzeo, who owned his own
    11     company, Buzzeo PDMA, actually came to
    12     the Perryman, Maryland distribution
    13     center and performed audits, training me
    14     to do the same.
    15                 Q.        So were you working out of
    16     the Perryman facility at that time?
    17                 A.        No, sir.
    18                 Q.        Where were you working out
    19     of?
    20                 A.        Rite Aid headquarters.
    21                 Q.        And where were they?
    22                 A.        Camp Hill, Pennsylvania.
    23                 Q.        Did you receive any written
    24     materials as part of this training?
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     1     chain regulatory compliance, you
     2     understand that the DEA required that
     3     Rite Aid prevent diversion?
     4                           MS. McENROE:            Objection to
     5                 form.
     6                           THE WITNESS:            Yes, sir.
     7     BY MR. SIMMER:
     8                 Q.        And based on your work and
     9     experience, you are familiar with the
    10     concept of a "suspicious order" in the
    11     context of controlled substances?
    12                           MS. McENROE:            Objection to
    13                 form.
    14                           THE WITNESS:            Yes, sir.
    15     BY MR. SIMMER:
    16                 Q.        And what does it mean?
    17                 A.        Suspicious would be
    18     anything, just that, suspicious.
    19                 Q.        Can you clarify what you
    20     mean by a suspicious order?
    21                 A.        Anything abnormal.
    22                 Q.        Where did you gain your
    23     understanding about what a suspicious
    24     order was?
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     1                 A.        Through training with Ron
     2     Buzzeo.
     3                 Q.        Would that be only at the
     4     conferences that you attended?
     5                 A.        It really started when Ron
     6     came to train me two months into my
     7     employment.
     8                 Q.        Back in 2000?
     9                 A.        Yes, sir.
    10                 Q.        How extensive was that
    11     training with Mr. Buzzeo?
    12                 A.        I like to think it was
    13     pretty extensive.                We spent three or
    14     four days together going through his
    15     checklist, not just auditing, but
    16     explaining really what the spirit of the
    17     regulations mean, and then how to ensure
    18     that, you know, as a registrant that they
    19     were doing the things needed to do to be
    20     compliant with all the rules and
    21     regulations set forth.
    22                 Q.        So let me clarify this.                    You
    23     received three or four days of training
    24     in 2000 when you first began working for
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     1     Rite Aid, correct?
     2                 A.        That's correct, sir.
     3                 Q.        Did you have any additional
     4     training with Mr. Buzzeo up until those
     5     conferences you talked about, that you
     6     attended later?
     7                 A.        Yes.
     8                 Q.        And what kind of training
     9     did you receive from Mr. Buzzeo in that
    10     interval in between?
    11                 A.        Just the exact same things.
    12                 Q.        He came back?
    13                 A.        Yes, sir.
    14                 Q.        And trained you
    15     additionally?
    16                 A.        We worked together
    17     additionally, yeah.                 So I can give you an
    18     example.         When I first got there, in --
    19     well, 2000 -- in November 2000 Ron and I
    20     performed the training.                    He performed the
    21     training with me.                The results were what
    22     they were.
    23                           And I invited him to come
    24     back in six months and do a re-audit and,
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     1     you know, give us a chance to treat
     2     our -- address any deficiencies so that
     3     six months from now when you come back,
     4     you should see a different story.
     5                           So four months after the
     6     fact I called Ron and invited him back
     7     and told him we were ready.
     8                           Ron came back a week or two
     9     after our phone call and conducted
    10     another audit.             He conducted the audit
    11     with me there, again asking questions,
    12     trying to continue to learn and found no
    13     deficiencies.
    14                 Q.        So what was he auditing when
    15     he came back the second time?
    16                 A.        Could you rephrase?                 I'm
    17     sorry.
    18                 Q.        You said he conducted a
    19     re-audit.          What was he actually auditing?
    20                 A.        The control drug cage and
    21     all the processes, the SOPs, biennial
    22     inventories, you name at --
    23                 Q.        At Perryman?
    24                 A.        -- accountability -- yes,
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     1     sir, at Perryman.
     2                 Q.        Okay.      So when he first
     3     trained you in 2000, he actually
     4     conducted an audit of Perryman at that
     5     time?
     6                 A.        Yes, sir.
     7                 Q.        I take it that that wasn't a
     8     positive audit?
     9                 A.        That would be correct, sir.
    10                 Q.        What were the deficiencies
    11     that you recall he noted in -- in 2000?
    12                 A.        I -- I don't recall
    13     individual.
    14                 Q.        Was there a written report
    15     that he prepared?
    16                 A.        Yes, sir.
    17                 Q.        And is that something that
    18     the company retained in its records as
    19     far as you know?
    20                 A.        I would assume but I do not
    21     know for sure.
    22                 Q.        When he came back, I guess
    23     was it four months or six months later?
    24                 A.        Four months.
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